Case 1:04-Cr-10035-STA Document 40 Filed 08/25/05 Page 1 of 2 Page|D 49

 

 

UNITED STATES DISTRICT COURT
FOR THE

WESTERN DISTRICT OF TENNESSEE

ORDER OF PRODUCTION
NO= l:O4cr10()35-01-T

 

USA v- Kelsey L. Robinson
AD Prosequendum
FOR= Re-Sentencing

TO: USM, Western District of TN
Warden, FCI Memphis, 1101 John A. Denie Road,
Memphis, TN 38134

YOU ARE HEREBY COMMANDED to have the person of KELSEY L. ROBINSON, lnmate
# 19368-076, by you restrained of his/her liberty, as it is said, by whatsoever names detained,
together With the day and cause of his being taken and detained, before the Honorable J ames D.
Todd, U. S. District Court Judge, for the Western District of Tennessee, at the room of said Court,
in the City of Jackson, Tennessee, at 8:45 a.m. on the 18th day of October, 2005, then and there
to do, submit to, and receive whatsoever the said Judge Shall then and there determine in that behalf;
and have you then and there this Writ; further, to hold him in federal custody until disposition of this

case and to produce him for such other appearances as this court may direct.

ENTERED THIs ;2§{ l"l/§AY oF mj|,wi;l/ ,2005'
<)JV)/Ma ¢3‘ M

JAMES , TODD
UNIT STATES DISTRICT .TUDGE

This document entered on the docket sheet ln com tiance
with Rule 55 and/or 32(b) FRCrP on QD 'a !:Q§

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 40 in
case 1:04-CR-10035 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

Victor Lee lvy

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jacl<son7 TN 38301

Richard L. Finney

HARDEE MARTIN DAUSTER & DONAHOE
213 E. Lafayette

Jacl<son7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

